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re 24 2019 UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF LOUISIANA

 

SHREVEPORT DIVISION

UNITED STATES OF AMERICA 5-19-cr-00144-01

VERSUS Chief Judge Hicks
Magistrate Judge Hornsby
DEANDRAY CHARLES GRANT

INDICTMENT
THE GRAND JURY CHARGES:
COUNT 1

On or about November 23, 2018, in the Western District of Louisiana, the
defendant, DeAndray Charles Grant, having previously been convicted of a crime
punishable by imprisonment for a term exceeding one year, did knowingly possess in
and affecting commerce a firearm and ammunition, to wit: a DPMS Panther Arms,
model: A-15 rifle, caliber: Multi (.556 Nato); and ammunition, in violation of Title 18,
United States Code, Section 922 (g)(1). [18 U.S.C. § 922(g)(1)]

FORFEITURE NOTICE

A. The allegation in COUNT 1 is realleged and incorporated by reference
for the purpose of alleging forfeiture pursuant to the provisions of the
Federal Rule of Criminal Procedure 32.2 and Title 18, United States
Code, Section 924(d).

B. Upon conviction of the firearm and ammunition offense alleged in the

Count set forth above in this Indictment, the defendant, DeAndray Charles

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Grant, shall forfeit to the United States the following items seized by law

enforcement officers on or about November 23, 2018:

1) a DPMS Panther Arms, model: A-15 rifle, caliber: Multi (.556 Nato)
2) Twenty-eight (28) rounds of .556 caliber ammunition.

C. By virtue of the offense charged in this Indictment, any and all interest
in the above-described property is vested in the United States and is forfeited to the
United States pursuant to the Federal Rules of Criminal Procedure and Title 18,
United States Code, Section 924(d)

All in accordance with the Federal Rules of Criminal Procedure, Title 18,
United States Code, Section 924(d) [18 U.S.C. § 924(d)].

A TRUE BILL

REDACTED

GRAND JURY FOREPERSON

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